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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                                                 § CASE NUMBER 4:15-CR-00161-ALM
v.                                               §
                                                 §
                                                 §
CARLY MILLER (11),                               §
                                                 §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

        The Court referred this matter to the Honorable Christine A. Nowak, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. The Honorable Christine A. Nowak conducted a hearing in the form and

 manner prescribed by Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and

 Recommendation on Guilty Plea Before the United States Magistrate Judge. The Magistrate

 Judge recommended that the Court accept the Defendant’s guilty plea.               She further

 recommended that the Court adjudge the Defendant guilty on Count One of the Indictment filed

 against the Defendant.

        The parties have not objected to the Magistrate Judge’s findings. The Court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The Court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report.     It is further ORDERED that, in

 accordance with the Defendant’s guilty plea and the Magistrate Judge’s findings, Defendant,
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   CARLY MILLER, is adjudged guilty as to Count One of the Indictment charging a violation of

   Title 18 U.S.C. § 1349 - Conspiracy to Commit Bank Fraud.
         SIGNED this 28th day of April, 2016.




                                     ___________________________________
                                     AMOS L. MAZZANT
                                     UNITED STATES DISTRICT JUDGE
